                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA                       Criminal no. 19-192 (DRD)
   Plaintiff,
                v.

 DEWIN SANCHEZ SERRANO
   Defendant.

           Motion to request Mr. Sánchez Serrano at Status Conference via VTC

To the Honorable Court:
       Comes now the defendant, Mr. Sánchez Serrano, and respectfully states and prays as

follows:

   1. On November 19, 2021, the parties informed than they have reach an agreement in

       principle that would resolve the current matter, but that it was prudent to address the

       progress of the negotiations before the Court. (See Docket Entry #42)

   2. As requested, the Court has set a status conference for December 6, 2021, via VTC, at

       11:30 am. (See Docket Entries #43, 44)

   3. The undersigned has been unsuccessful in his attempts to meet with Mr. Sánchez Serrano

       at MDC to discuss in detail the current status of the plea negotiations. The latest attempt

       was just this past Wednesday, December 1, 2021.

   4. Since it is crucial that Mr. Sánchez Serrano is informed of the current state of negotiations,

       and to ensure that we do not continue to pursue a resolution that is not acceptable to him,

       it is necessary that he be made available at the status conference, and that the undersigned

       be provided an opportunity to discuss the status of the plea negotiations 15 minutes prior

       to the status conference time.

   5. After this conversation happens, the undersigned will then inform the Court and the

       government of Mr. Serrano Sanchez's intentions.
       WHEREFORE, due to the necessity of establishing an urgent line of communications

with Mr. Sánchez Serrano, it is requested that he be ordered to appear at the Status Conference

scheduled for December 6, 2021, at 11:30 am via VTC.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 3rd day of December 2021.

   I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.


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